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           EXHIBIT K
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                    IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION




EPIC GAMES, INC.,                                   Case No. 4:20-CV-05640-YGR

                    Plaintiff,                Judge: Hon. Yvonne Gonzalez Rogers

vs.

APPLE INC.,

                    Defendant.




       REBUTTAL EXPERT REPORT OF RICHARD SCHMALENSEE, PH.D.


                                   March 15, 2021
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         Two-sided platforms are businesses that bring together two different groups of
         users, and intermediate between them. They are characterized by indirect
         network effects—that is, the value of the platform to one group of users
         increases as the number of users in the other group increases. Thus, for
         example, eBay becomes more valuable to antiques buyers the greater the
         number of antiques sellers that join the eBay platform to sell their antiques.

         A special category of two-sided platforms is a transaction platform, which
         focuses on facilitating simultaneous exchanges between members of one
         group and members of another group. As the U.S. Supreme Court recognized
         in the Ohio v. American Express anti-steering case, transaction platforms are
         complex, but those complexities must be considered in order properly to
         assess competition in the market(s) in which the platform competes and in
         examining the competitive implications of business decisions made in
         designing and running transaction platforms.

         When Apple released its first mobile device in 2007, third-party developers
         could not distribute native apps on iOS. It was only with the introduction of
         the iOS App Store just over a year later that app developers could distribute
         apps and users could gain access to third-party apps. Initially, app developers
         could only distribute free apps or “premium” apps. Free apps often were ad-
         supported. Some developers offered either ad-free versions of the same game
         and/or enhanced gameplay through their premium offerings, but initially,
         those required a separate download. With the introduction of in-app
         purchasing in 2009, users could unlock additional content from within the
         app, rather than downloading a new app. In-app purchasing functionality
         provides a number of additional benefits to users and developers.

         The App Store facilitates transactions that simultaneously involve developers
         and users—downloads, app updates, and in-app purchases that enhance the
         user’s experience with the app. Users gain greater value from the App Store
         with more selection in terms of quality apps, and app developers gain greater
         value from developing iOS apps for distribution through the App Store when


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         there are more potential users on the other side of the platform. A successful
         interaction—a download, an app update, or an in-app purchase—will result in
         a transaction simultaneously provided to the developer and the user. Hence,
         the App Store is clearly a two-sided transaction platform.

         Despite his prior uncertainty on this point, Professor Evans now
         acknowledges that the App Store, on which this case centers, is a two-sided
         transaction platform. This implies that strong indirect network effects connect
         consumers and app developers. However, Professor Evans’ analyses
         sometimes neglect those effects and are sometimes unrelated to the issues in
         this case.

             a. Despite there being no allegations in the Complaint regarding device
                 competition or competition among operating system platforms,
                 Professor Evans devotes a large portion of his report to discussions of
                 competition and market power in what he defines as a foremarket for
                 smartphone operating systems. This serves as nothing more than a
                 distraction from the issues raised in Epic’s Complaint.

             b. In his discussion of his foremarket for smartphone operating systems,
                 Professor Evans also frequently conflates smartphone operating
                 systems with smartphone devices and focuses on whether smartphones
                 are functionally equivalent to other devices such as personal computer
                 and game consoles. This is, again, irrelevant for the current matter,
                 which concerns game transactions facilitated by the App Store and
                 reasonable substitutes for those transactions.

             c. Professor Evans also defines an aftermarket for distribution of iOS
                 apps in which the App Store provides distribution services to app
                 developers, even though, as a two-sided transaction platform, its
                 output is transactions, provided simultaneously to developers and
                 consumers. This is precisely the economic error committed by
                 plaintiffs in Amex when they focused only on the merchant side of
                 payment card platforms. Professor Evans’ division of the Apple

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                ecosystem into a foremarket and an aftermarket is artificial and rests
                on an incorrect treatment of switching costs and neglect of the strong
                bilateral indirect network effects that link consumers and app
                developers.

            d. The correct way to analyze iOS and the App Store is as a single,
                integrated, two-sided transaction platform, in which the App Store is
                Apple’s mechanism for facilitating transactions between developers
                and end-users.

            e. Professor Evans’ arguments imply that all “walled garden” business
                models, regardless of their scale, involve monopolization of app
                distribution and, generally, an illegal tie between distribution and
                payment processing. Professor Evans gives no defensible reason why
                his arguments do not imply that the business models of the game
                console manufacturers and all other “walled garden” business models
                should be demolished along with the App Store’s business model, with
                unpredictable effects.

         The fact that the App Store is a transaction platform has important
         ramifications for assessing market definition in this case.

            a. First, in assessing the relevant market(s) at issue, one cannot simply
                look at one group of users of the platform in isolation; one must
                consider the market in which the iOS App Store, a transaction
                platform, competes for transactions by engaging both users and
                developers. The evidence that I have reviewed indicates that
                competitive conditions differ among categories of apps; for some apps
                (such as games), developers and users face a broader set of viable
                substitute transaction platforms than for other apps. In particular, the
                evidence presented by Drs. Hitt and Lafontaine demonstrate that both
                game developers and consumers can and do regularly substitute across
                platforms for game transactions, and the developers of games and the
                developers of non-game apps are largely distinct. I agree with

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               Professors Lafontaine and Hitt that a relevant product market for game
               transactions on digital transaction platforms is the appropriate antitrust
               market to assess Epic’s claims in this matter.

            b. Hence, I disagree with Professor Evans’ attempt to cluster all apps into
               a single relevant antitrust product market. To assess whether Apple’s
               conduct that is at issue here has harmed competition and whether Epic
               and other similarly situated game developers have suffered antitrust
               injury, it is critical to center the product market definition on game
               transactions.

            c. Professor Evans’ prior research shows that failure to take explicit
               account of the strength of indirect network effects when performing a
               hypothetical monopolist or SSNIP test in the context of two-sided
               platforms leads to antitrust markets that are defined too narrowly and
               market power that is overstated. Yet he neither presents nor employs
               estimates of the strength of those effects in either his foremarket or
               aftermarket SSNIP tests. Both tests suffer from additional
               shortcomings as well.

            d. Professor Evans’ foremarket SSNIP test is unrelated to the issues in
               this case, because this case does not involve operating system or
               device competition but rather involves restrictions that Apple has
               imposed on transactions involving iOS apps. Professor Evans’
               aftermarket SSNIP test simply makes no sense. It is merely an attempt
               to assess whether the App Store, acting alone, could profitably
               increase price. His conclusion that it could is inconsistent with profit
               maximization by Apple.

            e. Similarly, the assessment of the relevant geographic market must take
               into account the options available on both side of the transaction
               platform. U.S. users of iOS mobile devices may face constraints that
               make switching to non-U.S. App Store storefronts challenging. Given
               these constraints, the two sides of the relevant geographic market are

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                consumers in the U.S. and developers both in and outside the U.S. who
                can sell to them.

            f. Professor Evans’ discussion of the relevant geographic market is
                curiously disconnected from the issues in this case. In his discussion
                of the relevant geographic foremarket Professor Evans notes that
                leading smartphones are generally available globally, despite there
                being no allegations by Epic regarding a relevant market or
                anticompetitive conduct of any sort for smartphones. He carves out
                China because of its government’s policies and then simply adopts the
                same geographic market for his aftermarket. Professor Evans does not
                discuss which consumers are in the relevant market. It is my
                understanding that the U.S. antitrust laws do not consider effects on
                non-U.S. consumers, so the geographic market must center on
                transactions facilitated by the App Store that link U.S. consumers with
                developers in and outside the U.S. who can sell to them.

         The fact that the App Store is a transaction platform also has important
         ramifications for assessing market power and aftermarket claims in this case.

            a. In using market outcomes to assess Apple’s market power in this
                market, the two-sided nature of the market requires careful analysis of
                transaction prices; focusing only on one portion of the pricing
                structure, such as the commission that Apple charges developers for
                access to the platform, while ignoring the zero price that the App Store
                charges users, can lead to erroneous conclusions. Any analysis of
                Apple’s pricing power must consider whether Apple can charge a
                supracompetitive transaction price—across both sets of users— and
                profitably reduce market output or whether the existence of other
                transaction platforms, as well as traditional single-sided businesses
                such as a brick-and-mortar retailer like GameStop which acquires
                inventory and sells it to its customers, would make that unprofitable.




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            b. Professor Evans’ analysis of the App Store’s profit margins does not
               demonstrate that it has monopoly power. High accounting profitability
               on its own does not establish the existence of market power, let alone
               monopoly power. In addition, accounting profitability can be a very
               poor measure of economic profitability, particularly for businesses
               such as Apple with substantial investments in intellectual property.

            c. Mr. Barnes’ calculations of the App Store’s accounting profit margin
               involves using revenue to allocate joint costs among lines of business.
               There is no economic justification for such allocations, which Apple
               does not perform in the ordinary course of business. In addition, he
               has seriously incomplete information on which categories of costs are
               included in this calculation.

            d. Mr. Barnes’ comparison of the App Store to other digital platforms
               neglects important differences among them. It is important to note that
               many other successful technology companies, large and small, earn
               similar, and at times higher, operating margins than Apple as returns
               on their intellectual property.

            e. Despite Professor Evans’ claims, the App Store’s commission rates are
               in line with rates currently charged by other online stores, and since
               the App Store’s launch, Apple has only reduced elements of its pricing
               structure over time.

            f. Likewise, in conducting any structural analysis of market power, such
               as through the use of market shares, one must be especially careful in
               interpreting these static measures. Online platforms for which indirect
               network effects are important and output can easily be expanded to
               meet demand can experience rapid changes in market share.

            g. The two-sided nature of the App Store is important to keep in mind in
               assessing the claim that switching costs and lock-in create an
               aftermarket. To assess this, one must consider whether (and to what
               extent) users of both groups face switching costs and lock-in, since

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                loss of either group can doom a transaction platform. Professor Evans
                simply asserts that switching costs cause user lock-in but does not
                estimate its importance and neglects the fact that game developers
                regularly multi-home across platforms.

         The fact that the App Store is a transaction platform also has important
         ramifications for assessing competitive effects in this case.

            a. The assessment of competitive effects must also take into account the
                two-sided nature of the App Store. Because the pricing structure of a
                transaction platform can be quite complex, rigorous analysis of pricing
                will be complex and may not lend itself to tractable analysis of overall
                effects. Assessing, instead, the impact on output may be more
                straightforward, but especially in the context of apps, where many are
                distributed at no price to users or developers, even those may require
                use of several different measures to draw any conclusions.

            b. Professor Evans doesn’t address the voluminous evidence indicating
                that the effect of Apple’s policies has been to produce a healthy,
                thriving ecosystem that has brought enormous benefits to developers
                and consumers and yielded Apple a return on its investments in
                intellectual property. Despite Professor Evans’ argument that Apple
                has had substantial market power since 2010, App Store commission
                rates established two years earlier have not increased, and the number
                of apps and app developers has skyrocketed since then.

         The fact that the App Store is a transaction platform also carries with it
         implications for assessing the role of IAP and whether there exists a “tie”
         between the App Store and IAP. Examining this question through the proper
         lens, I conclude that there is no anticompetitive tie, for the following reasons.

            a. From an economic perspective, IAP cannot be considered in isolation,
                because it is integral to facilitating transactions between users and
                developers. It is a feature of the platform in which delivery of digital
                content is inextricably and simultaneously linked to payment for that

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                content. Most online stores require the use of their own payment
                processing solutions, including most platforms cited by Mr. Barnes.
                IAP is not a distinct product offering, and there would be no separate
                demand for in-app payment processing provided by a third party
                unless use of a third party enabled developers to avoid paying
                commissions..

             b. The examples discussed by Professor Evans in support of his assertion
                that a separate demand exists merely illustrate the unsurprising fact
                that developers would prefer not to pay a 30 percent commission for
                Apple’s services and the use of its intellectual property and would
                prefer to pay a lower price or none at all.

             c. Even taking all of Professor Athey’s claims as true, neither multi-
                platform app stores nor multi-platform payment systems have the
                potential in theory or in practice to drastically reduce barriers to new
                competition in mobile operating systems. Multi-platform app stores
                cannot ensure compatibility of apps across different platforms.
                Whether or not a version of each particular app becomes available on
                an additional platform comes down to the respective decisions of app
                developers as well as the platforms themselves.

             d. Even if one were to artificially consider payment processing separate
                from the rest of the platform, there is no economic basis for
                considering only payment processing for iOS apps, and given Apple’s
                negligible share of all online payment processing in the U.S., the
                notion that Apple is employing a tie to achieve market power in this
                broader market is not an economically credible one.

             e. In Professor Evans’ SSNIP analysis, he incorrectly compares the App
                Store commission rate to payment processing fees. While the alleged
                competitive level of payment processing fees cited by Professor Evans
                covers only services related to payment processing for in-app



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                transactions, the commission rate in the App Store is not a fee for
                payment processing

             f. Even if one were to artificially view IAP as a distinct product offering,
                there is no sense in which use of the App Store has been tied to use of
                IAP. Developers that distribute their apps through the App Store
                can—and do—choose other forms of monetization that do not require
                use of IAP. In addition, for cross-platform apps such as Fortnite, users
                that wish to use Fortnite V-Bucks for their iOS gameplay may acquire
                those V-Bucks on other platforms. Neither developers nor consumers
                are required to use IAP in order to transact.

             g. The integration of IAP in the App Store has generated real benefits to
                developers and consumers that—as Professor Evans has
                acknowledged—may not be replicable if in-app payment processing
                were performed by a third party. Most importantly, neither Epic nor
                Professor Evans has presented a workable alternative to the use of IAP
                to collect commissions on in-app transactions.

             h. Finally, Professor Evans’ analysis of harm to innovation is extremely
                speculative. The App Store was a significant innovation, and Apple
                has worked to improve it over time. That some developers may
                believe it falls short of perfection is hardly evidence of abuse of
                monopoly power. In addition, Apple’s substantial ongoing
                investments in the wider iOS ecosystem benefit consumers and
                developers alike.




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